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VAMBERT

(® PARKE-DAVIS

 

Memorandum
Memo To: FIELD SALES COLLEAGUES Date: November 30, 1998
From: Neurontin Marketing Team
Subject: JAMA NEURONTIN ARTICLES
Copies PDMT

Enclosed are some slides that are designed to explain why the Neurontin articles are able to be distributed.
The comments below are meant to clarify and expand on the slides.

e Washington Legal Foundation (WLF)

Five years ago the WLF, a nonprofit public interest law group, filed a citizen's petition with the FDA
protesting its policy on continuing medical education (CME). They based their objections on the
theory that restrictions in the dissemination of information on off-label product uses in the form of
journal article reprints, reference texts and CME seminars violate the First Amendment. On July 30",
the court granted the WLF's motion for summary judgment and ordered the FDA to refrain from
enforcing certain of their guidelines.

In summary, the court ultimately recognized the FDA's "substantial interest" in getting companies to
seek approval for new uses, but protected the industry's commercial speech rights within the
framework of the Constitution. So the dissemination of certain educational materials is allowed, but
promotion of off-label uses is NOT allowed.

e Parke-Davis position on the issue

The Advertising Review Committee (ARC) must review ALL material prior to dissemination and
central marketing will be responsible for submitting articles to the ARC. All information we
disseminate will be scientifically and medically sound and placed in a fair, balanced context, and is
NOT to be promoted.

Parke-Davis takes no position as to the safety or efficacy of the drugs discussed for the unapproved
uses described in the articles.

e Guidelines

Territory managers can distribute, one time only, the approved off-label articles on an unsolicited
basis, but they must tell the physician the use noted in the article is not approved by FDA and that the
article is being disseminated by Parke-Davis for educational purposes only. There CANNOT be any
discussion between the TM and healthcare professional regarding the content of the article or any
other off-label use of the product.

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Here is an example of an appropriate interaction with a physician:

"Doctor, you may be interested in reading this article, which appeared in the Journal of the
American Medical Association. The article is titled, ‘Gabapentin Monotherapy for the
Symptomatic Treatment of Painful Neuropathy in Patients with Diabetes Mellitus: A Randomized
Controlled Trial.’ This use of NEURONTIN has not been approved by the FDA. Parke-Davis is
distributing this article for educational purposes only."

END OF DISCUSSION!

If the healthcare professional has any questions, these should be referred to Medical Affairs.

e Future

It is important to strictly follow these guidelines while Parke-Davis monitors developments. Any
change in company position will be communicated to field force colleagues as appropriate.

It is reasonable to believe there will continue to be some strong debate among all parties concerning the
court ruling and it is quite possible guidelines may change at some future date. However, for now, the

attached information reflects our position. Since this is a highly visible and changing situation, it 1s
VERY IMPORTANT that no one deviate from the guidelines provided.

If you have any questions, please talk with your CBU management team.

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